      Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 1 of 63 PageID #:1




                UNITED STATES DISTRICT COURT FOR THE
            NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION


 Commuter Rail Division of the Regional
 Transportation Authority, d/b/a Metra,

                                  Plaintiff,            Case No. 25-cv-2439

 v.                                                     JURY TRIAL DEMANDED

 Union Pacific Railroad Company,

                                  Defendant.


                                    COMPLAINT

       Plaintiff the Commuter Rail Division of the Regional Transportation

Authority (“Metra”) brings this complaint against Defendant Union Pacific Railroad

Company (“Union Pacific”) and alleges as follows:

                            NATURE OF THE ACTION

       1.     Access to commuter rail service for Chicago-area residents, who take

millions of trips each year on Metra, is in jeopardy.

       2.     As soon as July 1, 2025, Union Pacific may terminate the use of three

commuter rail lines serving dozens of communities throughout northeast Illinois

and southeast Wisconsin.

       3.     These three lines (the “UP Lines”), which make up 39% of Metra’s

ridership, are critical to Metra’s commuter rail system. Their loss would be felt

throughout the regional economy, as workers are stranded from their jobs and

Chicago-area residents lose the ability to traverse the region without a car.




                                           1
     Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 2 of 63 PageID #:2




         4.   Union Pacific owns the UP Lines and (at this time still) operates the

Metra commuter rail services on them. But, as operation of that service transitions

to Metra, Union Pacific has imperiled Metra’s future access to and use of the UP

Lines.

         5.   Union Pacific has demanded commercially unreasonable and

monopolistic rates for Metra to continue using the UP Lines for commuter rail,

rates to which Metra cannot feasibly agree and which have no grounding in

industry-standard rate-setting methods.

         6.   Despite knowing that Metra cannot agree to these terms, and that

commuter rail service on the UP Lines is threatened as a result, Union Pacific has

refused to budge.

         7.   For the first time since before the Civil War, passenger rail service on

the UP Lines may end.

         8.   The sudden cessation of commuter rail service would not be without

consequence for Union Pacific. Pursuant to contracts governing fixed facilities

improvements to the UP Lines funded by Metra—mostly through federal, state, and

local grants—Union Pacific is obligated to repay over $500 million if those

improvements are no longer used for their intended purpose of commuter rail

operations.

         9.   Union Pacific, moreover, has made dozens of contractually binding

promises since 2017 that commuter rail improvement projects funded by Metra

shall remain in service throughout their useful life.



                                           2
       Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 3 of 63 PageID #:3




        10.   On information and belief, Union Pacific has no intention of honoring

these promises. It has, in fact, referred to Metra’s contributions to capital

improvements on the UP Lines as mere “gifts” rather than arms-length investments

to improve Metra’s service for the benefit of Metra’s many passengers.

        11.   To be clear, Metra has made $1.25 billion in such investments over the

decades. These public investments were not gifts.

        12.   Metra seeks declaratory relief to resolve the meaning of the governing

contract provisions, a question on which the parties disagree, and which will decide

whether Union Pacific must repay Metra hundreds of millions of dollars in just a

few months, if negotiations stay their course and commuter rail service on the UP

Lines ends.

        13.   Relief is also necessary to confirm that Union Pacific’s monopolizing

conduct, which has the effect of excluding Metra from the UP Lines to the detriment

of commuter rail passengers throughout the Chicago area, violates federal antitrust

law.

                                      PARTIES

        14.   Metra is an Illinois municipal corporation with its principal place of

business in Chicago, Illinois.

        15.   Metra, a division of the Regional Transportation Authority (“RTA”),

provides public transportation by commuter rail in northeast Illinois. See 70 ILCS

3615/3B.01.




                                           3
     Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 4 of 63 PageID #:4




       16.   Metra’s system serves the Illinois counties of Cook, DuPage, Will,

Lake, Kane, and McHenry and Kenosha County in southeastern Wisconsin.

       17.   Metra provides service to and from downtown Chicago with 243

stations over 11 rail routes totaling approximately 500 route miles and 1,200 miles

of track.

       18.   Metra provides 158,600 passenger trips each workday.

       19.   Metra’s operating costs are funded through a combination of fare

revenues; the RTA Sales Tax imposed throughout the six-county northeast Illinois

region; a 30% match of the sales tax revenue that is paid from the State of Illinois’

General Revenue Fund to the Public Transportation Fund; and operating grants

from the federal government.

       20.   Metra’s capital costs, including infrastructure and rolling stock

expenses, are funded primarily with local, state, and federal assistance.

       21.   Union Pacific is a Delaware corporation with its principal place of

business in Omaha, Nebraska.

       22.   Union Pacific is a Class I railroad that operates freight service over

32,200 miles of routes in 23 states west of Chicago and New Orleans.

       23.   The Union Pacific Railroad System is the second largest railroad

carrier in the United States.

       24.   Union Pacific is one of the largest transportation companies in the

world, with revenues upwards of $24.3 billion in 2024.




                                          4
     Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 5 of 63 PageID #:5




                             JURISDICTION AND VENUE

       25.    This Court has jurisdiction over Metra’s state law claims under 28

U.S.C. § 1332 because complete diversity of citizenship exists between the parties

and the amount in controversy exceeds $75,000, exclusive of interest and costs.

       26.    This Court has jurisdiction over Metra’s federal law claims under 28

U.S.C. § 1331 as the claims arise under the laws of the United States.

       27.    The Court may also exercise supplemental jurisdiction over Metra’s

state law claims pursuant to 28 U.S.C. § 1367 because the state and federal claims

form part of the same case or controversy under Article III of the United States

Constitution.

       28.    Venue lies in this judicial district pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claim

occurred in this district.

                              FACTUAL ALLEGATIONS

       A.     Background

              1.     Metra

       29.    Metra is synonymous in the Chicago area with high-quality, safe, and

affordable commuter rail transportation. It is a pillar of the region’s transportation

system, which aims to provide financially stable and publicly beneficial public

transportation in one of the United States’s busiest and most vibrant economic

regions.

       30.    In 1974, voters in the six-county area in and around Chicago served by

Metra approved the creation of the RTA.


                                           5
     Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 6 of 63 PageID #:6




      31.    The RTA’s formation was a response to failures of public

transportation in the region, marked by financial losses suffered by the Chicago

Transit Authority, suburban bus companies, and rail carriers offering commuter

and passenger service.

      32.    The RTA’s founding mission was to coordinate and assist public

transportation services in the Chicago area and to serve as the conduit for state and

federal subsidies needed to keep the system operational.

      33.    The RTA first began to assume operations of commuter rail services

following the bankruptcies of two railroads: the Chicago, Rock Island & Pacific and

the Chicago, Milwaukee St. Paul & Pacific.

      34.    The RTA eventually bought the tracks of these railroads and, in 1982,

created the Northeast Illinois Regional Commuter Railroad Corporation

(“NIRCRC”) to operate those lines.

      35.    Pursuant to a 1983 reorganization of the RTA, the Illinois General

Assembly divided the RTA into three divisions or “service boards,” with the RTA

remaining the parent organization of all three service boards.

      36.    One of these divisions, the Commuter Rail Division (“CRD”), oversees

commuter rail operations. See 70 ILCS 3615/3B.01.

      37.    CRD provides commuter rail services pursuant to purchase of service

agreements (“PSAs”) with NIRCRC or private railroads.




                                          6
     Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 7 of 63 PageID #:7




      38.    Metra is a service mark owned by CRD, which CRD uses to brand all

commuter rail services, including those operated by NIRCRC or a private railroad

company.

             2.     Metra Commuter Rail system

      39.    Metra’s commuter rail system is one of the largest and most complex

commuter rail operations in North America.

      40.    More than 100 communities across seven counties in two states rely on

Metra’s commuter rail services. Metra’s 3,700 square mile service area makes it the

largest commuter rail system in the United States geographically.

      41.    In 2024, Metra provided approximately 35.1 million passenger trips,

making it the nation’s fourth-largest commuter rail system in terms of ridership.

      42.    Metra is indispensable to Chicago’s regional economy—Metra supports

thousands of jobs throughout northeast Illinois by providing people a safe and

convenient way to get to work. It also provides an alternative to commuting by

automobile, making commutes safer, less stressful, and more affordable for its

passengers and alleviating traffic for everyone else.

      43.    The Metra Commuter Rail system includes eleven lines with 243

stations.

      44.    Metra owns and operates four of these lines pursuant to a PSA with

NIRCRC.




                                          7
     Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 8 of 63 PageID #:8




      45.    Metra, through NIRCRC, also operates commuter rail service on three

of the lines pursuant to trackage rights or lease agreements over tracks owned by

freight railroads.

      46.    On the remaining four lines, commuter rail service is (presently)

operated by the rail carriers that own the lines, pursuant to PSAs between Metra

and the railroad.

      47.    Metra has a PSA with Union Pacific, which owns and operates the

three UP Lines.

      48.    Metra also has a PSA with BNSF Railway, which owns and operates

one line.

      49.    As a public entity, Metra is accountable and answerable to a governing

Board of Directors consisting of eleven political appointees representing six Illinois

counties that Metra serves.

      50.    Among its oversight functions, Metra’s Board of Directors approves

Metra’s annual budgets and five-year capital program.

      51.    Pursuant to statute, Metra is also accountable to the RTA, which, like

Metra, has a Board of Directors consisting of political appointees.

      52.    Ultimately, Metra is accountable to the public whom it exists to serve,

including the regional taxpayers who help fund its operations, the state and federal

taxpayers who fund its capital improvements, and the hundreds of thousands of

people who make up its ridership.




                                           8
     Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 9 of 63 PageID #:9




               3.    UP Lines

         53.   Union Pacific owns the three UP Lines on which Metra’s commuter

service runs between the Ogilvie Transportation Center in Chicago and,

respectively, Kenosha, Wisconsin (the “North Line”); Harvard and McHenry, Illinois

(the “Northwest Line”); and Elburn, Illinois (the “West Line”).

         54.   Union Pacific owns and maintains the rights-of-way, bridges, signal

systems, track structures, and adjacent properties, including some stations and

parking lots located along the lines.

         55.   A map depicting the UP Lines, together with Metra’s lines, is shown

below.




                                           9
Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 10 of 63 PageID #:10




                                    10
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 11 of 63 PageID #:11




      56.      The UP Lines are among the most popular in the Metra system,

accounting for 39% of Metra’s ridership and serving dozens of communities through

68 stations.

      57.      These lines have been mainstays of commuter rail service to Chicago

since before the Civil War.

      58.      Service on the West Line began in 1848 as the Galena & Chicago

Union. The West Line was thus the first railroad in Chicago and the first to provide

passenger service.

      59.      Passenger service on today’s Northwest Line began in 1854.

      60.      What became the North Line began offering passenger service in 1855,

first to Waukegan, Illinois, and to Kenosha by 1867.

      61.      Union Pacific acquired these lines after merging with the Chicago and

North Western Railway Company (“CNW”) in 1995. Union Pacific also retained all

fixed facility and service obligations held by CNW related to those lines.

      62.      Two of the UP Lines—the North and Northwest Lines—are used

primarily for commuter rail service.

      63.      The West Line is also Union Pacific’s main freight line into the Chicago

market, making it one of the busiest rail lines in the United States.

      64.      For nearly 50 years, since 1976, the RTA or Metra have subsidized

CNW’s and Union Pacific’s operation of commuter rail service along the UP Lines.

      65.      This spending has been for the benefit of Metra passengers and the

public.



                                           11
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 12 of 63 PageID #:12




         66.   Throughout that time, Metra has been able to work cooperatively with

its railroad counterparty to ensure that commuter rail services remained available

to the public.

         67.   Metra and the RTA have invested more than $1.25 billion towards

capital improvements on the UP Lines over the past 40 years.

         68.   These investments—which have a present-day value of greater than

$800 million—span everything from station and platform improvements to track

and signal improvements.

         69.   Metra has funded many such improvements to the UP Lines in recent

years.

         70.   As one example, on the UP West Line, Metra has contributed more

than $40,000,000 towards the construction of a third mainline track to ease

congestion, including $14,500,000 towards the eastern section completed in 2017

and $29,500,000 towards the western section to be completed this year.

         71.   On the UP North Line, Metra contributed approximately $23,700,000

for several bridge repair projects completed in 2020 and 2024, including

improvements to the Deering Bridge, the Webster Avenue Bridge, and the Peterson

and Ridge Avenue Bridges.

         72.   On the Northwest Line, Metra contributed approximately $2,000,000

to the rehabilitation of the Seeger interlocking to allow for improved train speeds.




                                          12
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 13 of 63 PageID #:13




      73.    Across all three UP Lines, Metra contributed approximately

$28,000,000 to fund the renewal of cross and switch ties along various segments of

track between 2015 and 2024.

      74.    Across all three UP Lines, Metra contributed approximately

$17,000,000 to fund the installation of positive train control to assure public safety

and prevent hazards, including derailment.

      75.    These improvements represent a fraction of the more than $1.25 billion

of investments that Metra has made in the UP Lines over more than four decades.

      76.    Many of these recent improvements have added substantial value and

utility to the UP Lines and remain well within their useful life.

      77.    Metra’s improvements to the UP Lines, recent and historic, have been

largely funded by federal, state, and local grant funds obtained by Metra and

designated for use in improving commuter rail service.

      78.    Because thousands of daily commuters and other passengers depend

on the UP Lines to travel to and from work and to navigate Northeast Illinois, the

loss of these lines would be devastating to the many riders who use them—and that

harm would ripple throughout the regional economy.

             4.     Union Pacific to discontinue operation of commuter rail
                    service

      79.    In 2019, Union Pacific notified Metra that it intended to discontinue its

operation of commuter rail service on the UP Lines.

      80.    Union Pacific contended that it had no legal obligation to provide

commuter rail service.


                                          13
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 14 of 63 PageID #:14




      81.    Union Pacific also argued that the continuity of commuter rail service

would not be threatened because Metra could assume operational control of

commuter rail services on the UP Lines.

      82.    Union Pacific further represented that it would allow Metra to

continue accessing its rail lines at a commercially reasonable “market” rate.

      83.    A court in this District sided with Union Pacific, and the Seventh

Circuit affirmed. See Union Pac. R.R. Co. v. Reg’l Transportation Auth., 74 F.4th

884, 886 (7th Cir. 2023).

      B.     Present dispute

             1.     Transition negotiations and Union Pacific’s
                    compensation demands

      84.    Metra has been working with Union Pacific to transfer commuter rail

operations to Metra.

      85.    To that end, Union Pacific has transferred to Metra many personnel

for passenger service, equipment maintenance, storehouse, and customer-service-

related personnel and functions. That process is expected to conclude with train,

engine, and yard service personnel by the end of April 2025, except for some

maintenance personnel. In other words, hundreds of former Union Pacific

employees are now Metra employees, and Metra, not Union Pacific, is responsible

for the livelihoods of these workers.

      86.    Metra and Union Pacific also have been negotiating over a successor

trackage rights agreement to replace the existing PSA.




                                          14
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 15 of 63 PageID #:15




      87.    In the interim, the parties have agreed to several short-term

extensions of the existing PSA, the latest of which expires on June 30, 2025.

      88.    There is no guarantee that the parties will agree to any future

extensions or that a successor agreement will be reached.

      89.    On information and belief, Union Pacific will not agree to provide or

allow Metra to provide commuter rail service on the UP Lines with no PSA or

replacement trackage rights agreement in place and instead may seek to terminate

commuter rail service on the UP Lines.

      90.    The parties agree that Union Pacific is entitled to some amount of

compensation for Metra’s use of the Union Pacific’s rail lines for commuter rail

service.

      91.    The parties are at an impasse, however, over the appropriate level of

compensation.

      92.    Metra has been clear that it is willing to compensate Union Pacific a

commercially reasonable amount calculated using industry-standard methods, such

as the SSW Compensation framework employed by the STB and used to calculate

commercially reasonable rates for access to rail lines. See St. Louis Sw. Ry.—

Trackage Rts. Over Mo. Pac. R.R.—Kan. City to St. Louis, 1 I.C.C.2d 776 (1984); St.

Louis Sw. Ry.—Trackage Rts. Over Mo. Pac. R.R.—Kan. City to St. Louis, 4 I.C.C.2d

668 (1987) (collectively, “SSW Compensation”).

      93.    The SSW Compensation framework calculates a fixed fee using three

component rates: (1) an interest rental component designed to compensate the



                                         15
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 16 of 63 PageID #:16




owning carrier for the tenant’s use of capital dedicated to the track of the owning

carrier; (2) the “below-the-wheel” maintenance costs incurred by the owning carrier

due to the tenant carrier’s operations over the owning carrier’s track; and (3)

variable incremental costs, such as dispatching, crew-calling, and snow removal.

      94.     Metra’s willingness to agree to a compensation level relying on this

framework is commercially reasonable and would yield an agreement between

Metra and Union Pacific that appropriately compensates Union Pacific for the use

of its tracks without subjecting Metra to exploitative or extractive rates that would

make commuter rail service impracticable.

      95.     On information and belief, this approach is also commonplace in the

rail industry and would place Union Pacific and Metra on similar footing to other

trackage rights agreements generally.

      96.     Metra also believes that its fees paid to Union Pacific moving forward

must account for the fact that Union Pacific will be providing fewer services to

Metra on an ongoing basis, due to Union Pacific’s discontinuation of commuter rail

operations.

      97.     Union Pacific, by contrast, has demanded an extraordinary level of

compensation that is unjustifiable under the prevailing methodology or the facts on

the ground.

      98.     Accounting for the shift in labor costs to Metra, Union Pacific demands

far more annually from Metra than in years past, despite providing fewer services

overall.



                                          16
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 17 of 63 PageID #:17




      99.    Union Pacific’s demands are commercially unreasonable and

economically infeasible.

      100.   On information and belief, Union Pacific’s demands are unsupported

and are incongruent with the present value of capital improvements to the lines and

instead reflect extraneous considerations far outside the mainstream for rate-

setting in the railroad industry.

      101.   On information and belief, Union Pacific’s demanded compensation

would be an outlier within the industry.

      102.   Union Pacific’s demand also reflects no consideration of the capital

investments that Metra has made on the UP Lines—totaling over $1.25 billion—

using federal, state, and local funding.

      103.   Union Pacific’s compensation demands would make it impossible for

Metra to access stations or yards on the UP Lines—which were largely funded by

Metra—without paying.

      104.   All in, Union Pacific has demanded a windfall sum of money, based on

take-it-or-leave-it monopolist pricing tactics, to allow the continued operation of

commuter rail service on its lines.

      105.   Union Pacific’s demands are economically unfeasible to Metra. Metra

cannot operate the UP Lines if the payments to Union Pacific vastly exceed the

commercially reasonable rate, especially considering that Metra will incur

additional operating costs in the millions of dollars.




                                           17
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 18 of 63 PageID #:18




       106.   Absent unforeseen circumstances, Metra will be unable to provide the

level of compensation demanded by Union Pacific.

       107.   Metra also would be unable to justify paying the level of compensation

demanded by Union Pacific to the public authorities, taxpayers, and customers to

whom Metra is accountable.

       108.   Metra cannot afford what Union Pacific demands. Even if it could, it

cannot justify expending such an abundance of taxpayer funds in a way that is a

windfall to a private entity.

       109.   The predictable result of Union Pacific’s unilateral compensation

demand would be the exclusion of Metra from the UP Lines and the cessation of

commuter rail service.

       110.   Metra has made it clear to Union Pacific that its proposed rates are

unreasonable and Metra is unable to accept them.

       111.   Union Pacific knows that its current course of conduct has put the

parties on a course towards the cessation of commuter rail service and the exclusion

of Metra from the UP Lines.

       112.   Union Pacific has also failed to respond meaningfully to multiple

requests for documentation, calculations, and workpapers supporting its demanded

sum.

       113.   Metra is ready and willing to negotiate commercially reasonable

compensation and remains committed to doing everything in its power to reach a

resolution.



                                          18
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 19 of 63 PageID #:19




      114.      But any deal must be premised on Metra paying commercially

reasonable rates that could be endorsed by the STB under prevailing standards and

are typical within the industry, not the rates demanded by a monopolist seeking to

extract acquiescence upon the threat of exclusion.

      115.      After negotiations stalled, the parties engaged in mediation with the

STB that did not result in a negotiated settlement. Metra advised the STB prior to

the mediation that Union Pacific’s failure to provide complete and sufficiently

detailed financial information to support its substantially increased financial

demands would make a mediated resolution difficult. See Metra’s Response in

Opposition to Union Pacific Application for Mediation at 4-6, Application of Union

Pac. R.R. Co. for Mediation Under 49 U.S.C. § 28502, FD 36800 (filed Aug. 8, 2024).

      116.      As negotiations stand, unless the PSA is once again extended by

agreement, or Union Pacific proposes commercially reasonable compensation, the

parties will be unable to agree, and Union Pacific may seek to terminate Metra’s

commuter rail service on the UP Lines after June 30, 2025.

      117.      This cessation in commuter rail service under such circumstance would

be at Union Pacific’s volition.

      118.      Union Pacific has demanded a level of compensation that, on

information and belief, it knows that neither Metra nor any reasonable rail carrier

could accept.

      119.      Union Pacific’s conduct thus shows that Union Pacific is content to

force Metra off of its tracks unless Metra acquiesces to monopolist pricing.



                                            19
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 20 of 63 PageID #:20




      120.   Union Pacific’s demand—coupled with its refusal to meaningfully

negotiate to date—indicates that Union Pacific does not desire Metra to continue

operating commuter rail on the UP Lines under reasonable conditions.

      121.   Metra wants to preserve commuter rail service on the UP Lines and is

willing to negotiate mutually agreeable rates.

      122.   To obtain rights to use the UP Lines, on March 7, 2025, concurrently

with this complaint, Metra also filed an application with the STB seeking terminal

trackage rights over the three UP lines under 49 U.S.C. § 11102.

             2.     Union Pacific’s contractual obligations

      123.   Metra has invested large sums of taxpayer-funded grant money into

the UP Lines for the purpose of improving commuter rail operations.

      124.   In recognition of this fact, the parties have defined by contract their

understanding that these improvements are meant to be used for commuter rail

service.

      125.   The parties have also specified what will happen should the fixed

facility improvements funded by those investments cease to be used for this

intended purpose.

                    a.    Fixed Facilities Agreements

      126.   Since the early 1980s, the parties or their predecessors have entered

into several Fixed Facilities Agreements (“FFAs”) that govern the parties’ rights

and obligations related to various fixed facilities improvement projects funded by

Metra.




                                          20
   Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 21 of 63 PageID #:21




      127.   The FFAs remain in effect and govern the parties’ relationship.

      128.   The terms of two of these agreements are pertinent to this declaratory

judgment action.

                          (i)   Right of Way FFA

      129.   On September 11, 1981, the RTA and CNW executed an Agreement for

Construction of Fixed Facilities C40011 (the “ROW FFA”). See Ex. A.

      130.   The ROW FFA describes the parties’ rights and obligations regarding

improvements to the rights of way along which the UP Lines run. Within the

agreements, the term “Railroad” represents Union Pacific as the successor to CNW.

      131.   Section 10 of the ROW FFA describes “use of facilities.”

      132.   Section 10(a) of the ROW FFA states, in pertinent part, as follows:

             Except as may be otherwise provided by written
             agreement between the parties, Railroad shall use the
             Fixed Facilities during the Use Period to provide or to
             facilitate the providing of Commuter Service as follows:

                   (i) During periods when a Service Agreement is in
                   effect, in accordance with such Service Agreement,
                   or

                   (ii) During periods when no Service Agreement is in
                   effect, then in accordance with all requirements of
                   common and statutory law (including regulations
                   thereunder).

      133.   Section 10(b) of the ROW FFA provides, in pertinent part, as follows:

             Railroad shall not reduce or terminate Commuter Service
             during the Use Period unless it first (1) complies with all
             requirements of common and statutory law (including
             regulations thereunder), and of agreements between
             Railroad and the Authority or other governmental
             entities, which are then prerequisites to such reduction or
             termination.


                                         21
Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 22 of 63 PageID #:22




  134.   Section 10(c) of the ROW FFA states:

         Fixed Facilities no longer used for Commuter Service are
         referred to in this Section as Retired Facilities. With
         respect to each Retired Facility, Railroad shall pay to the
         Authority the greater of:

               (i) The salvage value (less expenses of removal) of
               the Authority Portion of such Retired Facility; or

               (ii) The Cost of the Authority Portion of the Work
               (including the cost to the Authority of materials
               purchased by the Authority) attributable to such
               Retired Facility, reduced by: 5% (10% for frogs and
               switchpoints) of such cost for each complete year of
               the Use Period before such Fixed Facility became a
               Retired Facility, but not more than 100% of such
               cost.

         Notwithstanding any other provision of this subsection
         l0(c), if any part of a Fixed Facility becomes a Retired
         Facility solely because the Authority directs Railroad to
         cease using it excepting such directions caused by or
         resulting from any breach by Railroad of this Agreement,
         the Service Agreement or any other agreement between
         the Authority and Railroad, Railroad shall at its election
         either [1] pay to the Authority the net salvage value of the
         Authority Portion of such Retired Facility at the time of
         removal from service or [2] shall make the Authority
         Portion of such Retired Facility available for removal by
         the Authority (at the Authority's own expense) and shall
         transfer its right, title, and interest to the Authority
         Portion of the Retired Facility to the Authority without
         any other additional cost to the Authority, provided,
         however, that the Authority shall have no obligation
         hereunder to remove the Authority Portion of the Retired
         Facility. Where Railroad elects to pay the Authority the
         net salvage value, each such payment shall be made
         within 90 days after a Fixed Facility becomes a Retired
         Facility. Such payments shall be in addition to any other
         remedies the Authority may have. Upon payment in full
         of all amounts payable to the Authority pursuant to this
         paragraph (c) with respect to a Retired Facility, the




                                     22
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 23 of 63 PageID #:23




             Authority shall transfer its right, title, and interest in
             such facility to Railroad.

      135.   In other words, if fixed facilities governed by the agreement cease to be

used for commuter rail service—unless ordered solely by Metra, and not in response

to a breach by Union Pacific—Union Pacific must repay Metra the greater of (1) the

salvage value of those improvements or (2) the depreciated value of Metra’s

contribution to those improvement projects according to the provided depreciation

formula.

      136.   Metra has contributed at least $666,941,525 to improvement projects

covered by the ROW FFA, mostly funded by federal grants.

      137.   These improvements, minus actual depreciation, have a present-day

real value in the range of $460 million.

      138.   Using the depreciation formula described in Section 10(c) of the ROW

FFA, Union Pacific would be required to repay Metra more than $200 million to

cover the depreciated value of these assets in applicable circumstances in which the

improvements are no longer used for commuter rail services.

      139.   Union Pacific also would be obligated to pay a substantial sum in

salvage value for improvements outside the depreciation window.

      140.   Section 10(f) of the ROW FFA provides:

             This Section shall not be construed to affect any other
             obligations Railroad may have to provide Commuter
             Service with the right-of-way on which the Fixed
             Facilities are installed or elsewhere.




                                           23
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 24 of 63 PageID #:24




      141.   The ROW FFA makes clear that the parties intend for improvements

governed by the agreement to be used for commuter service.

      142.   The ROW FFA ensures that, if commuter service ends during the

useful life of any improvements because of Union Pacific’s conduct, Union Pacific is

obligated to repay Metra for its contribution to all improvements governed by the

ROW FFA.

                          (ii)   Stations FFA

      143.   On June 14, 1983, the RTA and CNW executed Agreement No. 4 for

the Construction of Fixed Facilities C40022 (the “Stations FFA”). See Ex. B.

      144.   The Stations FFA describes the parties’ rights and obligations

regarding improvements to stations along the UP Lines.

      145.   Section 12 of the Stations FFA describes “use of facilities.”

      146.   Section 12(a) of the Stations FFA provides, in pertinent part:

             Except as may be otherwise provided by written
             agreement between the parties and except as provided for
             in Subsection l0(d) and Section 11 hereof, Railroad shall
             use the Fixed Facilities during the Use Period to provide
             or to facilitate the providing of Commuter Services as
             follows:

      147.   Section 12(b) of the Stations FFA provides, in pertinent part:

             Railroad shall not reduce or terminate Commuter Service
             during the Use Period unless it first … complies with all
             legally applicable requirements of common and statutory
             law (including regulations thereunder), and of agreements
             between Railroad and the Authority or other
             governmental entities, which are then prerequisites to
             such reduction or termination.

      148.   Section 12(c) of the Stations FFA provides:



                                          24
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 25 of 63 PageID #:25




             If Fixed Facilities are no longer used for Commuter
             Service at the volition of Railroad, such Fixed Facilities
             shall be referred to in this Section as Retired Facilities.
             With respect to each Retired Facility, Railroad shall pay
             to the Authority the greater of:

                   (1) the salvage value (less expenses of removal or
                   demolition) of such Retired Facility, or

                   (2) the original Cost of the Work (including the cost
                   to the Authority of materials purchased by the
                   Authority) with respect to such Retired Facility,
                   reduced by: (A) 6 2/ 3% of such costs for platforms,
                   4% of such costs for light standards, shelters, and
                   canopies, and 2% for stations, for each complete
                   year (or proportionally for a partial year) of the Use
                   Period before such Fixed Facility became a Retired
                   Facility, but not by more than 100% of such cost,
                   and (B) the salvage value, if any, (less expenses of
                   removal or demolition) of such Retired Facility
                   removed or demolished by the Authority under
                   Section 11.

             Each such payment shall be made within 90 days after a
             Fixed Facility becomes a Retired Facility. Such payments
             shall be in addition to any other remedies the Authority
             may have. Upon payment in full of all amounts payable to
             the Authority pursuant to this paragraph (c) with respect
             to a Retired Facility, the Authority shall transfer its right,
             title and interest in such Facility to Railroad. This
             subsection shall be inapplicable to circumstances arising
             under and governed by Sections 11 and 12(a) of this
             Agreement.

      149.   In other words, if fixed facilities governed by the agreement cease to be

used for commuter rail service at Union Pacific’s volition, Union Pacific must repay

Metra the greater of (1) the salvage value of those improvements or (2) the

depreciated value of Metra’s contribution to those improvement projects according

to the provided depreciation formula.




                                          25
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 26 of 63 PageID #:26




      150.   Metra has made at least $356,066,263 worth of improvements covered

by the Stations FFA, mostly funded by federal grants.

      151.   These investments have a present-day real value of between

$217,073,779 and $274,357,992.

      152.   Using the depreciation formula described in Section 12(c) of the

Stations FFA, Union Pacific would be required to repay Metra more than $200

million to cover the depreciated value of these assets in applicable circumstances in

which the improvements are no longer used for commuter rail services.

      153.   Union Pacific would also be obligated to pay a substantial sum in

salvage value for improvements outside the depreciation window.

      154.   Section 12(e) of the Stations FFA provides:

             This Section shall not be construed to affect any other
             obligations Railroad may have to provide Commuter
             Service with the right-of-way on which the Fixed
             Facilities are installed or or [sic] elsewhere.

      155.   The Stations FFA makes clear that the parties intend for

improvements governed by the agreement to be used solely for commuter service.

      156.   The Stations FFA ensures that, if commuter service ends during the

useful life of any improvements because of Union Pacific’s conduct, Union Pacific is

obligated to repay Metra for its contribution to all improvements governed by the

Stations FFA.




                                         26
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 27 of 63 PageID #:27




                    b.      Subsequent amendments

      157.   Since the parties executed the ROW and Stations FFAs, they have

executed more than 200 amendments to include additional improvement projects

within the scope of the agreements.

      158.   These amendments include:

             a.     149 amendments to the ROW FFA; and,

             b.     72 amendments to the Stations FFA.

      159.   Starting in November 2017, each of these amendments has included

the following language (or language of equivalent substance), appearing on a

document using Union Pacific letterhead:

             All improvements paid for by Metra under this Project
             (the “improvements”) shall remain in service and
             available to be used for commuter rail operations until the
             end of the useful life of the Improvements.

      160.   The same statement appears in 26 amendments to the ROW FFA,

spanning November 22, 2017 to February 26, 2025.

      161.   The same statement appears in 15 amendments to the Stations FFA,

spanning November 22, 2017 to February 4, 2025.

      162.   These statements constitute a binding promise by Union Pacific that

the improvements specified in each amendment will remain in service and available

to be used for commuter rail throughout their useful life.

      163.   With a few exceptions discussed below, these contractual promises

contain no qualification.




                                         27
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 28 of 63 PageID #:28




      164.   The improvements described in these 41 amendments have all been

made within the past eight years.

      165.   Substantially all the improvements described in these 41 amendments

remain in their useful life.

      166.   Metra’s investment in these improvements is approximately $235

million.

      167.   The improvements have a present-day depreciated value of $210

million.

      168.   The improvements contained in these 41 amendments are spread

throughout the UP Lines.

      169.   Metra’s inability to access any portion of the UP Lines will result in

these improvements being unavailable for commuter rail service.

      170.   In particular, the amendments to the ROW FFAs concern

improvements to the rail lines themselves.

      171.   Such improvements have system-wide distribution and significance.

      172.   Appendix A of this complaint describes the nature of the improvement

projects described in these 41 amendments. Metra incorporates and alleges the

contents of Appendix A as if fully set forth in this pleading.

      173.   We have provided representative examples of three of those

amendments as Exhibits C, D, and E attached to this complaint.

      174.   Amendment 72 of the Stations FFA and Amendments 146-149 to the

ROW FFA, executed between August 21, 2024 and February 26, 2025 contain the



                                           28
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 29 of 63 PageID #:29




same express guarantee by Union Pacific that the improvements will remain in

service and available for use in commuter rail. See, e.g., Ex. F (Amendment 147).

        175.   These five amendments also include the following proviso unique to

them:

               All improvements paid for by Metra under the Project(s)
               (the “Improvements”) shall remain in service and
               available to be used for commuter rail operations until the
               end of the useful life of the Improvements. Provided,
               however, notwithstanding the prior sentence, Metra
               acknowledges Metra’s access onto UP’s rail corridors to
               operate Metra’s commuter service or any request by
               Metra that UP operate commuter rail service for Metra
               remains conditioned upon Metra first paying UP separate
               compensation for access to UP’s rail corridors.

                    UP acknowledges that Metra’s payment for the
               Improvements shall be factored into any such separate
               compensation for access to UP’s corridors.

        176.   On information and belief, Union Pacific has not considered the value

of the improvements described in Amendment 72 of the Stations FFA and

Amendments 146-149 of the ROW FFA in its proposed compensation.

               3.    Union Pacific disavows its contractual obligations

        177.   As set forth above, Union Pacific has at least three contractual

obligations pertinent to the present dispute:

        178.   First, in the event that improvements covered by the ROW FFA and

Stations FFA become retired facilities because they are no longer in use for

commuter rail service, Union Pacific is obligated to repay Metra for its contribution

to these improvements, in accordance with the formulas set forth in Sections 10(c)

and 12(c) of those agreements.



                                           29
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 30 of 63 PageID #:30




       179.     In the case of the ROW FFA, Union Pacific is obligated to make this

repayment unless the cessation occurs solely at the direction of Metra.

       180.     Even if the cessation is at Metra’s direction, Union Pacific is obligated

to make the repayment if Metra’s direction to cease service is due to a breach by

Union Pacific.

       181.     In the case of the Stations FFA, Union Pacific is obligated to make this

repayment so long as the cessation of commuter rail service is at Union Pacific’s

“volition.”

       182.     Second, under the terms of 41 amendments to the FFAs executed by

the parties in the past eight years, Union Pacific is required to keep the

improvements described in those amendments in service and available for use for

commuter rail for the duration of their useful life.

       183.     Third, under the terms of Amendment 72 to the Stations FFA and

Amendments 146-149 to the ROW FFA, Union Pacific is required to factor into its

demanded compensation for access to its rail corridors the value of the

improvements described in those amendments.

       184.     On information and belief, Union Pacific disagrees that these

obligations exist or that they will be triggered by its current course of conduct.

       185.     With regard to Union Pacific’s repayment obligation for retired

facilities under the FFAs, Metra has specifically cited this obligation during

negotiations.




                                             30
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 31 of 63 PageID #:31




      186.   In response, Union Pacific asserted that no such repayment obligation

exists, as Metra’s contributions to these improvements were merely “gifts.”

      187.   Union Pacific thus disagrees that if the UP Lines cease to be used for

commuter rail service because Union Pacific has made commercially unreasonable

compensation demands to which Metra cannot agree, it will be required to repay the

depreciated or salvage value of the improvements, as set forth in the FFAs.

      188.   With regard to Union Pacific’s obligation to keep recent improvements

in service and available for use of commuter rail service, Union Pacific has

demonstrated by its conduct during negotiations that it perceives no obligation on

its part to keep any aspects of the UP Lines in service for commuter rail.

      189.   With regard to Union Pacific’s obligation to consider the value of

Metra’s contribution to the improvements described in Amendment 72 of the

Stations FFA and Amendments 146-149 of the ROW FFA when making demands

for compensation for access to its lines, the level of compensation demanded by

Union Pacific demonstrates that it perceives no such obligation.

                      NEED FOR DECLARATORY RELIEF

      190.   “Declaratory judgment actions serve an important role in our legal

system insofar as they permit prompt settlement of actual controversies and

establish the legal rights and obligations that will govern the parties’ relationship

in the future.” Hyatt Int’l Corp. v. Coco, 302 F.3d 707, 711 (7th Cir. 2002); see also

28 U.S.C. § 2201 (“In a case of actual controversy within its jurisdiction, … any

court of the United States, upon the filing of an appropriate pleading, may declare



                                           31
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 32 of 63 PageID #:32




the rights and other legal relations of any interested party seeking such declaration,

whether or not further relief is or could be sought.”).

       191.   A declaration is thus an appropriate remedy to clarify “the parties’

legal rights in anticipation of some future conduct.” Thompson v. Ortiz, 619 F. App’x

542, 544 (7th Cir. 2015). Accordingly, “[a] suit is ripe when ‘the facts alleged, under

all the circumstances, show that there is a substantial controversy, between parties

having adverse legal interests, of sufficient immediacy and reality to warrant the

issuance of a declaratory judgment.’” Cent. States, Se. & Sw. Areas Health &

Welfare Fund by Bunte v. Am. Int’l Grp., Inc., 840 F.3d 448, 451 (7th Cir. 2016)

(quoting Maryland Cas. Co. v. Pac. Coal & Oil Co., 312 U.S. 270, 273 (1941)); see

also Tempco Elec. Heater Corp. v. Omega Eng’g, Inc., 819 F.2d 746, 749 (7th Cir.

1987) (recognizing that a declaratory judgment action is ripe when “the controversy

is real and immediate … and it would be unfair or inefficient to require the parties

to wait for a decision”).

       192.   Here, the “the parties are at odds about [several] legal issue[s] with

concrete consequences for them.” Union Pac. R.R., 74 F.4th at 886.

       193.   Because “[r]esolving such disputes is a main function of the

declaratory-judgment statute” (Union Pac. R.R., 74 F.4th at 886), declaratory relief

is warranted and needed.




                                           32
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 33 of 63 PageID #:33




       A.     Declaration of Union Pacific’s contractual obligations

              1.    Repayment obligation under FFAs

       194.   An actual controversy exists between Union Pacific and Metra about

whether, under the FFAs, Union Pacific will be obligated to repay Metra for the

depreciated or salvage value of improvements funded by Metra if commuter rail

services cease—and thus these fixed facilities become “retired facilities”—because of

Union Pacific’s conduct, and specifically its commercially unreasonable

compensation demands.

       195.   Union Pacific will be so obligated.

       196.   Under the ROW FFA, Union Pacific has a repayment obligation so long

as commuter rail service does not cease “solely at the direction” of Metra.

       197.   Metra has not and will not direct the cessation of commuter rail

service on the UP Lines. Metra will pay commercially reasonable compensation to

access the UP Lines.

       198.   However, Metra is unable to accept Union Pacific’s commercially

unreasonable compensation demand.

       199.   Given the current course of negotiations, Union Pacific may seek to

terminate commuter rail service on the UP Lines as soon as July 1, 2025.

       200.   Under the Stations FFA, Union Pacific has a repayment obligation if

commuter rail service ceases at its “volition.”

       201.   The cessation of commuter rail service will be at Union Pacific’s

volition.




                                           33
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 34 of 63 PageID #:34




      202.   Union Pacific has willfully engaged in a pattern of conduct imperiling

the continuation of commuter rail service.

      203.   First, Union Pacific discontinued the operation of commuter rail

services operated by Union Pacific and its predecessor for 160 years or more.

      204.   Metra had no option but to assume operation of the commuter rail

itself, including already assuming the employment contracts of hundreds of former

Union Pacific personnel.

      205.   On information and belief, Union Pacific’s calculus regarding its labor

relations with those workers was, in the past, a major factor in dissuading Union

Pacific from attempting to discontinue passenger rail service.

      206.   Now, however, Union Pacific has transferred those employees to

Metra, and followed up that transfer with commercially unreasonable compensation

demands that would make the continuation of commuter rail operations impossible.

      207.   Second, Union Pacific’s compensation demand for access to its tracks

lacks grounding in prevailing methods of rate calculation in the industry, nor any

relation to the actual capitalized value of the tracks.

      208.   Union Pacific’s demanded compensation is a substantial net increase

in total annual compensation to Union Pacific, despite reducing the services it will

provide.

      209.   Metra cannot agree to Union Pacific’s compensation demand.

      210.   Union Pacific is aware that Metra cannot agree to its compensation

demand.



                                           34
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 35 of 63 PageID #:35




      211.   On information and belief, Union Pacific’s decision to set the

compensation demand at an unreasonably high rate—a rate to which Union Pacific

is aware that Metra cannot agree—demonstrates that Union Pacific is willing to

allow commuter rail service on the UP Lines to end unless Metra acquiesces to

unreasonable and extractive compensation demands.

      212.   Third, Union Pacific has refused to reduce its compensation demand

despite knowing that Metra cannot possibly agree to those demands.

      213.   If Union Pacific’s conduct continues its course, commuter rail service

thus may no longer be possible on the UP Lines.

      214.   The controversy over the meaning of the repayment provisions is of

concrete consequence for the parties.

      215.   If Metra is correct about Union Pacific’s repayment obligation, Union

Pacific’s course of conduct will give rise to a repayment obligation worth several

hundred million dollars, as set forth by the repayment formulas in the FFAs.

      216.   The controversy is also imminent.

      217.   Under the present extension of the purchase of service agreement,

Union Pacific may seek to terminate commuter rail service as soon as July 1, 2025,

triggering Union Pacific’s disputed repayment obligation.

      218.   A declaratory judgment is thus warranted to clarify that the cessation

of commuter rail services due to Union Pacific’s unreasonable conduct will trigger

the repayment obligation described in Sections 10(c) and 12(c) of the ROW and

Stations FFAs, respectively, obliging Union Pacific to pay Metra several hundred



                                          35
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 36 of 63 PageID #:36




million dollars in the depreciated or salvage value of the improvements governed by

these FFAs.

               2.     Obligation to keep improvements in service throughout
                      their useful life

       219.    An actual controversy exists between the parties regarding whether

Union Pacific is obligated to keep in service and available for use in commuter rail

the improvements described in amendments to the ROW and Stations FFAs

spanning November 22, 2017 through February 26, 2025, for the duration of their

useful life.

       220.    Union Pacific is so obligated.

       221.    Each of these amendments contains a provision stating that the

improvements described therein “shall remain in service and available to be used

for commuter rail operations until the end of the useful life of the Improvements.”

       222.    These statements represent an express promise by Union Pacific to

keep the improvements in service and available for that purpose throughout the

useful life of the improvements.

       223.    Substantially all the improvements described in these amendments

are still within their useful life.

       224.    Amendments executed prior to August 21, 2024 contain no

qualification to that promise.

       225.    The cessation of commuter rail service to these facilities because of

Union Pacific’s commercially unreasonable compensation demand would amount to

breach of contract.


                                            36
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 37 of 63 PageID #:37




        226.   The controversy over the meaning of the amendments is of concrete

consequence for the parties.

        227.   If Metra is correct about Union Pacific’s obligation to keep the

pertinent improvements in service, the cessation of commuter rail services on the

UP Lines attributable to Union Pacific’s unreasonable course of conduct would

result in a breach of this obligation.

        228.   The controversy is also imminent.

        229.   Under the present extension of the purchase of service agreement,

Union Pacific may attempt to terminate commuter rail service as soon as July 1,

2025.

        230.   A declaratory judgment is thus warranted to clarify that Union Pacific

is obligated to act consistently with its promise to keep these improvements in

service for the duration of their useful life and that failing to do so would constitute

breach of the amendments.

        231.   Here, conduct consistent with Union Pacific’s obligation to keep these

improvements in service for commuter rail would mean making a commercially

reasonable compensation request.

        232.   Further, a declaratory judgment is warranted to clarify that the proper

remedy for such a breach is specific performance.

        233.   Under Illinois law, specific performance is an appropriate remedy

when “the parties cannot be placed in status quo, nor [would] damages awarded …

constitute full compensation.” Jatcko v. Hoppe, 131 N.E.2d 84, 88 (Ill. 1955); cf. id.



                                           37
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 38 of 63 PageID #:38




(explaining that specific performance is warranted in cases involving a promise to

“convey a tract of land” and where the plaintiff has “ma[d]e improvements of a

permanent and valuable character” in reliance on that promise of conveyance).

       234.      No damages remedy would adequately compensate Metra for the

cessation of commuter rail service on the UP Lines.

       235.      The UP Lines are irreplaceable—it would be impossible to reconstruct

them in a way that serves the same stations and communities served by the Union

Pacific lines.

       236.      Discontinuing commuter rail service on the UP Lines would upend

Metra’s public mission, irreparably harm its reputation in the community, and

leave Metra powerless to provide commuter rail service to nearly 40% of its

ridership. An abrupt end to this aspect of Chicago’s transportation network would

harm the community and visitors, injuring the public interest.

       237.      Accordingly, no remedy other than specific performance would be

adequate to rectify Union Pacific’s breach.

                 3.    Obligation to consider the value of Metra’s contribution
                       to improvements when demanding compensation

       238.      An actual controversy exists between the parties about whether Union

Pacific’s compensation demand is consistent with its obligation under Amendment

72 of the Stations FFA and Amendments 146-149 of the ROW FFA to factor into

Metra’s compensation for access to Union Pacific’s rail corridors the value of Metra’s

contribution under these amendments.




                                            38
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 39 of 63 PageID #:39




      239.   Metra has promised to contribute approximately $20,000,000 to the

improvements described in these amendments.

      240.   Union Pacific’s compensation demand—which is commercially

unreasonable—clearly does not reflect the value of Metra’s contribution for these

improvements.

      241.   The controversy over the meaning of these amendments is of concrete

consequence for the parties.

      242.   If Metra is correct that Union Pacific has not factored the value of

Metra’s contribution for these improvements into its compensation demand, Union

Pacific is arguably already in breach of its obligation.

      B.     Declaration of Union Pacific’s antitrust violation

      243.   An actual controversy exists regarding whether Union Pacific’s

conduct, including its discontinuance of commuter rail operations followed up by a

commercially unreasonable compensation demand, gives rise to liability under

Section 2 of the Sherman Antitrust Act. See 15 U.S.C. § 2.

      244.   Section 2 provides that a firm shall not “monopolize” or “attempt to

monopolize.” 5 U.S.C. § 2.

      245.   A violation of Section 2 occurs when the defendant (1) possesses or

aims to possess monopoly power in the relevant market and (2) has undertaken “the

willful acquisition or maintenance of that power.” United States v. Grinnell

Corp., 384 U.S. 563, 570-571 (1966).




                                           39
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 40 of 63 PageID #:40




             1.    Union Pacific’s dominance over relevant market

      246.   Union Pacific dominates the relevant market, that is, the rail corridors

serving the three UP Lines.

      247.   Specifically, the relevant market is comprised of rail corridors suitable

for commuter rail transportation to and from Chicago, passing through the

communities in northeast Illinois and southeast Wisconsin presently served by the

UP Lines.

      248.   Rail carriers use the rail corridors on which UP Lines rely to move

passengers or freight.

      249.   The rail corridors on which the UP Lines rely represent the complete

relevant market, as they are the only lines suitable for commuter rail service to the

communities served by the UP Lines.

      250.   No other existing rail lines would provide riders living in the

communities served by the UP Lines a viable commuter rail transportation option

to and from Chicago.

      251.   Several counties served by the UP Lines (McHenry County in Illinois

and Kenosha County in Wisconsin) have no other commuter rail lines at all.

      252.   Even where other commuter rail lines exist in the same county as the

UP Lines, a substantial portion of Metra riders that use the UP Lines would be

unable to conveniently access alternative commuter rail lines and would cease using

commuter rail altogether.




                                          40
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 41 of 63 PageID #:41




      253.   It would not be possible to build new commuter rail lines serving the

communities served by the UP Lines. Constructing three new rail corridors between

downtown Chicago and the urban, suburban, and exurban communities served by

the UP Lines would be logistically impossible—it is infeasible to obtain the land

through downtown Chicago necessary to erect these lines. If not infeasible, it would

be prohibitively expensive and would create substantial disruption to communities

and a drain on public resources.

      254.   Many commuter rail stations currently serviced by the UP Lines could

not be serviced by alternative lines. As described, no such alternative lines exist—

and no such lines could be built. Union Pacific thus dominates access to the

commuter rail stations served by the UP Lines.

      255.   Non-rail transportation methods are not a viable substitute for

commuter rail operations on the UP Lines. The rail corridors on which the UP Lines

rely stretch dozens of miles from downtown Chicago to exurban communities

beyond the feasible service range of other surface transportation methods, like bus

or Chicago Transit Authority’s “L” system, at a similar quality and frequency of

service and for a similar cost. Other methods of public transportation would also be

unable to efficiently serve the same number and location of stations as the UP

Lines, particularly during rush-hour traffic.

      256.   Freight customers seeking to use the rail corridors on which UP Lines

rely likewise would be unable to replace the lines with other new or existing tracks

or realistically utilize non-rail surface transportation methods.



                                          41
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 42 of 63 PageID #:42




       257.   The rail corridor on which the UP West Line relies is Union Pacific’s

main freight line into Chicago and is among the busiest railroad lines in the United

States.

       258.   On information and belief, the vast majority of rail traffic on the rail

corridors on which the UP Lines rely, other than the commuter rail service, is

freight shipping operated by Union Pacific. Union Pacific not only owns and controls

the rail corridors on which the UP Lines rely but is also a customer that competes

with Metra for use of those corridors.

       259.   On information and belief, a hypothetical monopolist owning and

exercising complete control over the rail corridors on which the UP Lines rely, free

of regulatory constraints, would be able to demand at least a small but significant,

non-transitory price increase for use of these lines from commuter rail and freight

customers.

       260.   On information and belief, Union Pacific exercises complete and

exclusive control over all the rail traffic, commuter rail or freight, on all of its lines,

including the UP Lines.

       261.   Union Pacific thus has monopoly power over the relevant market, as it

is the sole owner of the rail corridors on which the UP Lines rely.

              2.     Union Pacific’s exclusion of Metra from the UP Lines

       262.   Metra and Union Pacific currently compete and have historically

competed for the use of the UP Lines, as Metra and Union Pacific both use the




                                            42
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 43 of 63 PageID #:43




railroad tracks: Metra through commuter rail (via, at the moment, a PSA with

Union Pacific) and Union Pacific through freight shipping.

      263.   Due to Union Pacific’s planned discontinuance of commuter rail

service, Metra intends to enter the market to directly compete with Union Pacific

for use of the UP Lines as the operator—via the NIRCRC—of commuter rail service

that uses the UP Lines.

      264.   Union Pacific’s unreasonable course of conduct is consistent with a

desire to use its market power to exclude Metra from its tracks, which would

prevent Metra from entering the market and continuing to compete with Union

Pacific for use of the UP Lines. That conduct consists of:

             a.     discontinuing the provision of commuter rail service, forcing

                    Metra to step in;

             b.     handing off personnel to Metra that would have previously made

                    the termination of commuter rail service difficult for Union

                    Pacific to accomplish;

             c.     making unreasonable compensation demands of Metra to

                    continue hosting commuter rail service on its lines, which, on

                    information and belief, Union Pacific knows Metra cannot

                    accept; and

             d.     refusing to budge from those demands even after Metra has

                    made clear that it cannot accept rates that are commercially




                                             43
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 44 of 63 PageID #:44




                    unreasonable and calculated based on non-industry-standard

                    methods.

      265.   If Metra ceases using the UP Lines, Union Pacific will be free of a

major competitor for use of the lines.

      266.   In particular, the West Line currently hosts both commuter rail and

freight traffic and serves as Union Pacific’s main freight artery into Chicago.

      267.   Chicago is one of the busiest freight hubs in the United States. One

third of all freight shipped by rail flows through Chicago.

      268.   The exclusion of Metra from the UP Lines would thus create a

dangerous probability that Union Pacific will have a total monopoly over the use of

the UP Lines, to the detriment of Metra and commuters.

             3.     Liability for refusal to deal

      269.   Section 2 liability will arise when a monopolist “retaliates” or

“discrimin[ates] against a customer [who] has decided to compete with it” (Olympia

Equip. Leasing Co. v. W. Union Tel. Co., 797 F.2d 370, 377 (7th Cir. 1986)) or when

a firm engages in “predatory” conduct by “attempting to exclude rivals on some

basis other than efficiency” (Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472

U.S. 585, 605 (1985) (finding Section 2 liability where ski resort refused to provide a

multi-day ski pass including a competitor resort) (quoting Robert Bork, The

Antitrust Paradox 138 (1978)).

      270.   Under the “refusal to deal” doctrine, courts must engage in a fact-

specific inquiry to assess whether a firm is monopolizing.



                                          44
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 45 of 63 PageID #:45




       271.   Relevant to this inquiry is whether “the monopolist elected to make an

important change in a pattern of distribution that had originated in a competitive

market and had persisted for several years.” Aspen Skiing, 472 U.S. at 603.

       272.   Union Pacific’s recent efforts to discontinue commuter rail service after

160 years of providing such service, and nearly 50 years of cooperation with Metra

and the RTA, was such “a decision by a monopolist to make an important change in

the character of the market.” Id. at 604.

       273.   Union Pacific has set a course for the possible cessation of commuter

rail on its tracks by demanding from Metra commercially unreasonable and

discriminatory prices well in excess of those supported by industry methods and, on

information and belief, well in excess of those actually typical in the industry.

       274.   Union Pacific’s discontinuance of commuter rail operations comes after

Metra invested more than a billion dollars in improvements to the UP Lines.

       275.   Most of these improvements remain within their useful life.

       276.   Also relevant is the “impact on consumers” of the monopolist’s action,

as well as the “adverse impact” on the competitor. Aspen Skiing, 472 U.S. at 605,

607.

       277.   The elimination of commuter rail service will devastate the nearly 40%

of Metra’s ridership who travel using the UP Lines.

       278.   These passengers rely on the UP Lines to get to and from work and

otherwise navigate northeast Illinois and southeast Wisconsin.

       279.   The cessation of commuter rail on the UP Lines will also harm Metra.



                                            45
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 46 of 63 PageID #:46




      280.    If commuter service ceases, Metra will be unable to fully recoup its

investment in improvements to the UP Lines.

      281.    Metra will lose out on revenue from lost ridership.

      282.    Most importantly, Metra will be unable to fulfill its mission of

providing commuter rail service to all of northeast Illinois.

      283.    “[M]ost significant” is whether the “conduct was justified by any

normal business purpose.” Aspen Skiing, 472 U.S. at 608. In other words, whether

the monopolist acted in a commercially reasonable way.

      284.    Union Pacific’s compensation demands are not commercially

reasonable.

      285.    Union Pacific’s demanded compensation has no basis in industry

methods.

      286.    Union Pacific’s demanded compensation also has no connection to the

value of the capital investments in its rail lines.

      287.    On information and belief, Union Pacific’s demanded compensation is

unlike rates charged in the industry writ large.

      288.    Union Pacific’s conduct is consistent with a monopolist aiming to force

competitors off its tracks—at least absent paying ransom-level fees—and is

inconsistent with a desire to allow Metra to continue providing commuter service on

the UP Lines.




                                           46
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 47 of 63 PageID #:47




             4.      Liability for denial of access to essential facilities

      289.   Section 2 liability exists where a monopolist (1) has control over an

essential facility; (2) could provide a competitor access to that facility; (3) has denied

access; and (4) a duplicate facility could not reasonably be provided. See MCI

Communications Corp. v. Am. Tel. & Tel. Co., 708 F.2d 1081, 1133 (7th Cir. 1983). 1

      290.   First, Union Pacific’s rail lines are an essential facility. See Fishman v.

Estate of Wirtz, 807 F.2d 520 (7th Cir. 1986) (“a facility need not be indispensable; it

is sufficient if duplication of the facility would be economically infeasible and if

denial of its use inflicts a severe handicap on potential market entrants.”).

      291.   Metra could not feasibly recreate these lines.

      292.   Without access to the UP Lines, Metra cannot provide rail service in

the areas served by them.

      293.   Metra has funded the construction of stations and other fixed facilities

along these lines.

      294.   The UP Lines are also a public service on which thousands of daily

commuters rely to get to and from work, among other passengers who benefit from

commuter rail service on these lines.


1
    To be sure, in Verizon Communications Inc. v. L. Offs. of Curtis V. Trinko, LLP,
540 U.S. 398, 406 (2004), the Supreme Court clarified that no such “essential
facilities” theory of Section 2 liability can be established where a regulator has the
authority to assure access to the facility. Thus, to the extent Union Pacific agrees
that the STB has the power—if warranted—to compel Union Pacific to allow
Metra’s use under 49 U.S.C. § 11102 of the entirety of the UP Lines, Metra would
then acknowledge that no essential facilities theory is available. If, however, the
STB is unavailable to provide terminal access rights, then no regulator is positioned
to ensure access to these facilities.


                                           47
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 48 of 63 PageID #:48




      295.   The UP Lines thus also bolster the regional economy, and their loss

would harm scores of communities, thousands of passengers and their families, and

likely many businesses.

      296.   Second, Union Pacific could provide Metra access.

      297.   Union Pacific and its predecessor have provided commuter rail service

on the UP Lines in coordination with Metra or RTA for nearly five decades.

      298.   Third, Union Pacific has denied Metra access to the essential facility

by demanding a commercially unreasonable amount of compensation for Metra to

access its tracks.

      299.   Union Pacific’s compensation demand has no justification in prevailing

industry standards. On information and belief, it is well above the industry

standard.

      300.   Union Pacific’s conduct is consistent with a monopolist aiming to force

competitors off its tracks—at least absent paying ransom-level fees—and is

inconsistent with a desire to preserve commuter service on the UP lines.

      301.   Union Pacific’s conduct consistent with an exclusionary motive

includes (1) abruptly announcing its discontinuance of service in 2019; (2)

transferring to Metra Union Pacific employees who, on information and belief,

Union Pacific had previously viewed as an impediment to ending commuter rail

service; and then (3) making commercially unreasonable compensation demands

that Union Pacific knows Metra could not accept; and (4) refusing to revise those

demands after Metra confirmed that it cannot accept them.



                                         48
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 49 of 63 PageID #:49




      302.   Fourth, no duplication of the UP Lines is possible.

      303.   The UP Lines are long-established.

      304.   They run along rail corridors owned by Union Pacific.

      305.   Establishing new lines through the City of Chicago and its suburbs to

reach the same communities served by the UP Lines is impossible as a practical

matter. The lines pass through dense urban areas as well as built-up suburban

neighborhoods. It is functionally impossible for Metra to acquire the land needed to

run comparable tracks—and especially to serve the existing stations—as the UP

Lines. These rail tracks exist solely because they were built more than a century

ago, and there is no possible way to recreate them over different land.

      306.   Even if establishing such tracks were functionally possible—it is not—

doing so would be prohibitively expensive and time consuming. Ultimately, such an

effort would not actually replicate the lost lines and would result in substantial

disruption to thousands of Metra riders.

             5.     Need for declaratory relief

      307.   The controversy over the existence of antitrust liability is of concrete

consequence for the parties.

      308.   If Metra is correct that Union Pacific is currently or will be liable

under Section 2 for anticompetitive conduct relating to its commercially

unreasonable compensation demands threatening to remove Metra from the UP

Lines, then Union Pacific will be liable for potentially significant treble damages.




                                           49
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 50 of 63 PageID #:50




         309.   Union Pacific’s refusal to negotiate with Metra on reasonable terms

constitutes a present antitrust violation, warranting appropriate relief from the

Court.

         310.   Specifically, Union Pacific has already performed all the necessary

conduct giving rise to Section 2 liability: by making commercially unreasonable

compensation demands—and making clear that it has no intent of changing

course—it has set in motion the exclusion of Metra from the UP Lines.

         311.   Union Pacific’s threatened exclusion of Metra from the UP Lines, if not

giving rise to present antitrust liability, threatens an imminent violation

warranting appropriate declaratory relief from the Court.

         312.   Under the present extension of the purchase of service agreement,

Union Pacific may seek to terminate commuter rail service on the UP Lines as soon

as July 1, 2025.

                                 CLAIMS FOR RELIEF

                                    COUNT I
                 Declaratory Judgment of Contractual Obligations
                                (28 U.S.C. § 2201)

         313.   Metra realleges and incorporates by reference the allegations

contained in the preceding paragraphs.

         314.   A court may, “in a case of actual controversy within its jurisdiction …

declare the rights and other legal relations of any interested party seeking such

declaration.” 28 U.S.C. § 2201.




                                            50
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 51 of 63 PageID #:51




         315.   Union Pacific has engineered circumstances under which commuter

rail service on the UP Lines may cease imminently.

         316.   Specifically, Union Pacific announced its intent to cease commuter rail

service.

         317.   That announcement left no alternative but for Metra to assume

operation of that service.

         318.   Now, Union Pacific is demanding commercially unreasonable

compensation for access to its railroad tracks.

         319.   Union Pacific is not willing to reduce its demanded compensation to a

commercially reasonable level.

         320.   An actual controversy exists over whether the FFAs will obligate

Union Pacific to repay Metra the greater of the depreciated or salvage value of all

improvements governed by the FFAs if commuter rail service ceases on the UP

Lines.

         321.   Metra is entitled to a declaration that Union Pacific does have such an

obligation, as the cessation of commuter service will not be solely at Metra’s

direction and will be at Union Pacific’s volition.

         322.   Metra is further entitled to a declaration that that repayment

obligation will total at least several hundred million dollars, pursuant to the

repayment formulas described in the FFAs.

         323.   An actual controversy exists over whether, pursuant to amendments to

the FFAs executed on or after November 22, 2017, Union Pacific has an obligation



                                            51
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 52 of 63 PageID #:52




to ensure that the improvements described by these amendments remain in service

and available for commuter rail operations for the duration of their useful life.

      324.   Metra is entitled to a declaration that Union Pacific does have such an

obligation, as is expressed by the plain text of the amendments.

      325.   Metra is further entitled to a declaration that the appropriate remedy

for a breach of this obligation is specific performance, as no other remedy could

remediate the loss of the UP Lines.

      326.   An actual controversy exists over whether, pursuant to Amendment 72

of the Stations FFA and Amendments 146-149 of the ROW FFA, Union Pacific is

required to factor into its demand for compensation from Metra for access to its rail

corridors the cost of the improvements described in those Amendments.

      327.   An actual controversy also exists over whether Union Pacific’s

compensation demand is consistent with that obligation.

      328.   Metra is entitled to a declaration that Union Pacific’s demanded

compensation did not accord with Union Pacific’s obligation to factor into that

demand the costs of the improvement described in the amendment.

                                   COUNT II
                 Declaratory Judgment of Antitrust Violations
                        (28 U.S.C. § 2201; 15 U.S.C. § 2)

      329.   Metra realleges and incorporates by reference the allegations

contained in the preceding paragraphs.




                                          52
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 53 of 63 PageID #:53




      330.   A court may, “in a case of actual controversy within its jurisdiction …

declare the rights and other legal relations of any interested party seeking such

declaration.” 28 U.S.C. § 2201.

      331.   Section 2 of the Sherman Antitrust Act prohibits “monopoliz[ing]” or

“attempt[ing] to monopolize” (15 U.S.C. § 2) including by refusing to deal with a

rival without a legitimate business justification (see Aspen Skiing Co., 472 U.S. at

602) or denying a rival access to essential facilities (see MCI Communications Corp.,

708 F.2d 1133).

      332.   An actual controversy exists regarding whether Union Pacific is or will

be liable under Section 2 under either of these theories.

      333.   Metra is entitled to a declaration that Union Pacific is or will be liable

under Section 2 for engaging in a pattern of conduct that has set in motion the

imminent exclusion of Metra from the UP Lines, without a commercially reasonable

purpose and for the purpose of monopolizing the use of the UP Lines.

      334.   Metra is further entitled to a declaration that Union Pacific is liable

under Section 2 for denying Metra access to an essential facility.

                                     COUNT III
                            Violation of Antitrust Law
                                   (15 U.S.C. § 2)

      335.   Metra realleges and incorporates by reference the allegations

contained in the preceding paragraphs.

      336.   Section 2 of the Sherman Antitrust Act prohibits “monopoliz[ing]” or

“attempt[ing] to monopolize” (15 U.S.C. § 2) including by refusing to deal with a



                                          53
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 54 of 63 PageID #:54




rival without a legitimate business justification (see Aspen Skiing Co., 472 U.S. at

602) or denying a rival access to essential facilities (see MCI Communications Corp.,

708 F.2d 1133).

         337.   Union Pacific is liable for present violations of Section 2 under either of

these theories.

         338.   Specifically, Union Pacific is liable under Section 2 for conduct that has

set in motion the imminent exclusion of Metra from the UP Lines without a

commercially reasonable purpose and with the effect of monopolizing the use of the

UP Lines.

         339.   Union Pacific is also liable under Section 2 for denying Metra access to

an essential facility.

         340.   Metra is entitled, at a minimum, to nominal damages for these

violations of antitrust law.

                                 PRAYER FOR RELIEF

         WHEREFORE Metra requests that the Court enter judgment in its favor and

against Defendant Union Pacific in the claims set forth above and requests that this

Court:

                a.    declare that Union Pacific will be obligated to repay the sums

                      set forth in the FFAs if commuter rail services cease because of

                      Union Pacific’s commercially unreasonable conduct;

                b.    declare that Union Pacific is obligated to keep improvements

                      described under the amendments to the FFAs executed on or



                                             54
Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 55 of 63 PageID #:55




               after November 22, 2017 in service and available for commuter

               rail operations for the duration of their useful life;

        c.     declare that Metra is entitled to specific performance to enforce

               Union Pacific’s obligation to keep improvements described under

               the amendments to the FFAs executed on or after November 22,

               2017 in service and available for commuter rail operations for

               the duration of their useful life;

        d.     declare that Union Pacific is obligated to factor into its

               compensation demand the value of the improvements described

               by Amendment 72 of the Stations FFA and Amendments 146-

               149 of the ROW FFA;

        e.     declare that Union Pacific is liable under 15 U.S.C. § 2;

        f.     award Metra damages for violations of 15 U.S.C. § 2 in at least a

               nominal amount;

        g.     award Metra attorneys’ fees and other reasonable costs; and

        h.     award Metra such further and additional relief, including

               injunctive relief, as this Court deems just and proper.

                             JURY DEMAND

  Metra demands a trial by jury as to all claims and issues so triable.




                                      55
   Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 56 of 63 PageID #:56




Dated:     March 7, 2025             Respectfully submitted,

                                     By its attorneys,

                                     /s/ Matthew Madden
                                     Matthew Madden
                                     Stephen Wu
                                     MCDERMOTT WILL & EMERY LLP
                                     444 West Lake Street
                                     Chicago, IL 60606-0029
                                     (312) 984-3273
                                     mmadden@mwe.com

                                     Paul W. Hughes (to file pro hac vice)
                                     Mary H. Schnoor (to file pro hac vice)
                                     Emmett Witkovsky-Eldred (to file pro hac vice)
                                     MCDERMOTT WILL & EMERY LLP
                                     500 North Capitol Street NW
                                     Washington, DC 20001
                                     (202) 756-8000
                                     phughes@mwe.com




                                       56
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 57 of 63 PageID #:57




                                   APPENDIX A

      1.      The following amendments to the ROW FFA and Stations FFA each

contain a provision stating as follows:

              All improvements paid for by Metra under this Project
              (the “improvements”) shall remain in service and
              available to be used for commuter rail operations until the
              end of the useful life of the Improvements.

      2.      Amendments to the ROW FFA and Stations FFA executed on or after

August 21, 2024 contain a provision stating as follows:

              All improvements paid for by Metra under the Project(s)
              (the “Improvements”) shall remain in service and
              available to be used for commuter rail operations until the
              end of the useful life of the Improvements. Provided,
              however, notwithstanding the prior sentence, Metra
              acknowledges Metra’s access onto UP’s rail corridors to
              operate Metra’s commuter service or any request by
              Metra that UP operate commuter rail service for Metra
              remains conditioned upon Metra first paying UP separate
              compensation for access to UP’s rail corridors.

              UP acknowledges that Metra’s payment for the
              Improvements shall be factored into any such separate
              compensation for access to UP’s corridors.

      A.      ROW FFA Amendments

      3.      Amendment 124, executed on November 22, 2017, describes a bridge

repair and rehabilitation project covering three bridges on the UP North Line

funded 100% by Metra with expected project expenditures of $3,164,277.

      4.      Amendment 125, executed on December 1, 2017, describes a project for

the purchase and installation of a new interlocking control machine at the Ogilvie

Transportation Center funded 100% by Metra with expected project expenditures of

$1,499,540.


                                          57
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 58 of 63 PageID #:58




      5.        Amendment 126, executed on February 26, 2018, describes an

electrical service upgrades project on the UP North Line funded 100% by Metra

with no net increase in obligated funding.

      6.        An amendment executed on May 22, 2018 describes a curved rail

replacement project on the UP Northwest Line and UP West Line with an expected

Metra contribution of $371,647.

      7.        Amendment 127, executed on August 3, 2018, describes Metra funding

reductions to several ROW projects by approximately $400,000.

      8.        Amendment 128, executed on August 9, 2018, describes a curved rail

replacement project on the UP Northwest Line and UP West Line with a net

increase in Metra’s expected contribution of $702,716.

      9.        Amendment 129, executed on October 16, 2018, describes a bridge

repair project on the UP West Line with a net increase of $16,631 in Metra’s

contribution and a total Metra contribution of $270,607.

      10.       Amendment 130, executed on February 4, 2019, describes various

ROW improvement projects and a net increase in $5,324,582 in Metra’s

contribution.

      11.       Amendment 131, executed on July 10, 2019, describes funding changes

to various ROW projects and a total net decrease of $2,268,320 in obligated funding.

      12.       Amendment 132, executed on October 1, 2019, describes crossings and

signal systems improvements funded 100% by Metra with a net increase in Metra’s

contribution of $1,145,991.



                                          58
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 59 of 63 PageID #:59




      13.    Amendment 133, executed on February 27, 2020, describes ties and

ballast and undercutting and surfacing improvement projects with a net increase in

Metra’s contribution of $730,661.76.

      14.    Amendment 134, executed on July 9, 2020, describes positive train

control and rail renewal improvement projects with a net increase in Metra’s

contribution of $1,254,440.

      15.    Amendment 135, executed on September 17, 2020, describes various

improvement projects, including bridge improvements on the UP North Line, as

well as tie and ballast and yard improvement projects, with a net increase in

Metra’s contribution of $827,812.18.

      16.    Amendment 136, executed on December 16, 2020, describes various

improvement projects, including bridge improvements on the UP North Line funded

100% by Metra, for a net increase in Metra’s contribution of $2,836,526.82.

      17.    Amendment 137, executed on April 27, 2021, describes various

improvement projects, including bridge improvements on the UP North Line funded

100% by Metra, for a net increase in Metra’s contribution of $2,278,729.

      18.    Amendment 138, executed on September 1, 2021, acknowledges the

completion of various improvement projects, including rail renewal and yard

improvement projects, for a net decrease in Metra’s contribution of $128,676.39.

      19.    Amendment 139, executed on February 23, 2022, describes

improvement projects funded 100% by Metra related to signal systems upgrade and




                                         59
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 60 of 63 PageID #:60




an interlocking control machine at the Ogilvie Transportation Center for no net

increase in Metra’s contribution.

      20.    Amendment 140, executed on March 29, 2022, describes various

improvement projects, including bridge improvements on the UP North Line funded

100% by Metra, for a net increase in Metra’s contribution of $2,308,533.

      21.    Amendment 141, executed on June 23, 2022, describes various

improvement projects funded 100% by Metra, including bridge repairs on the UP

North line and fence installations on the UP North and West Lines, for a net

increase of $189,902 in obligated funding.

      22.    Amendment 142, executed on August 29, 2022, describes various

improvement projects, including positive train control improvements and tie and

ballast installations for a net increase of $14,494,097 of obligated funding, of which

Metra contributed a significant amount.

      23.    Amendment 143, executed on November 15, 2022, describes various

improvement projects, including a signal improvement project on the UP Northwest

Line funded 100% by Metra, for a total net increase in funding of $215,755 of

obligated funding, of which Metra contributed a significant amount.

      24.    Amendment 145, executed on August 31, 2023, describes a tie and

ballast installation project on the UP Northwest and North Lines, for a net increase

of $1,119,477 of obligated funding, of which Metra contributed a significant amount.

      25.    Amendment 146, executed on February 26, 2025, includes various

improvements which Metra has funded 100%, including bridge repairs on the UP



                                          60
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 61 of 63 PageID #:61




North Line and undercutting and surfacing and crossings improvements, for a net

decrease of $135,531.92.

      26.    Amendment 147, executed on August 20, 2024, describes tie and

ballast installation projects on the UP North and Northwest Lines, of which Metra

contributed nearly all of a net increase of $14,912,076 in obligated funding.

      27.    Amendment 148, executed on February 4, 2025, describes various

improvement projects, including a bridge renewal project on the North Line and rail

replacement and crossing repairs funded 100% by Metra, for a net increase of

$3,049,301 in obligated funding.

      28.    Amendment 149, executed on February 26, 2025, describes a bridge

improvement project on the North Line funded 100% by Metra, for a net increase of

$636,089 in obligated funding.

      B.     Stations FFA Amendments

      29.    An amendment executed on November 22, 2017 describes an electrical

service upgrades project funded 100% by Metra with no net increase in obligated

funding.

      30.    Amendment 59, executed on February 15, 2018, describes

improvements to the Winfield Station on the UP West Line funded 100% by Metra

with a net increase of $1,047,248 in obligated funding.

      31.    Amendment 60, executed on July 30, 2018, describes an improvement

project on the UP West Line funded 100% by Metra with a net decrease of $599,343

in obligated funding.



                                          61
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 62 of 63 PageID #:62




      32.    Amendment 61, executed on October 16, 2018, describes improvements

to the Cary station on the UP Northwest Line funded 100% by Metra for a net

increase of $537,120 in obligated funding.

      33.    Amendment 62, executed on February 4, 2019, describes improvements

to the Cumberland Station on the UP Northwest Line funded 100% by Metra for a

net increase of $139,196 in obligated funding.

      34.    Amendment 63, executed on July 19, 2019, acknowledges the

completion of various improvement projects funded 100% by Metra, including

station improvements and installation of Americans With Disabilities Act (“ADA”)

compliant platforms and ramps, causing a net decrease of $170,617.78 in obligated

funding.

      35.    Amendment 64, executed on October 1, 2019, describes improvements

to the Maywood and Melrose Park stations on the UP West line funded 100% by

Metra, for a net increase of $49,705 in obligated funding.

      36.    Amendment 65, executed on July 10, 2020, acknowledges the

completion of improvement projects at the Cumberland Station on the UP

Northwest Line funded 100% by Metra, causing a net decrease of $48,127.84 in

obligated funding.

      37.    Amendment 66, executed on September 17, 2020, describes station

improvement projects funded 100% by Metra on the UP Northwest and UP West

lines, for a net increase of $1,263,011 in obligated funding.




                                          62
    Case: 1:25-cv-02439 Document #: 1 Filed: 03/07/25 Page 63 of 63 PageID #:63




      38.    Amendment 67, executed on December 16, 2020, describes a new

station construction project at the Peterson Ridge station on the UP North Line

funded 100% by Metra, for a net increase of $458,481.85 in obligated funding.

      39.    Amendment 68, executed on May 28, 2021, acknowledges the

completion of an ADA platform installation project funded 100% by Metra, causing

a net decrease of $275,030.88 in obligated funding.

      40.    Amendment 69, executed on August 16, 2021, describes various station

and platform improvement projects on all three UP Lines funded 100% by Metra,

for a net increase of $2,416,757 in obligated funding.

      41.    Amendment 70, executed on March 29, 2022, describes a new station

construction project at the Peterson Ridge station on the UP North Line and

systemwide station improvements projects funded 100% by Metra, for a net increase

of $2,587,304 in obligated funding.

      42.    Amendment 71, executed on August 31, 2023, describes various

improvement projects on all three UP Lines funded 100% by Metra for a net

increase of $240,363 in obligated funding.

      43.    Amendment 72, executed on February 6, 2025, describes various

platform improvement projects on the UP North and West Lines funded 100% by

Metra for a net increase of $2,814,684 of obligated funds.




                                          63
